Case 1:19-mj-OO428 Dooum Ve€r:t)(fn t1 Filed on 04/03/19 in TXSD Pag,{es 1 of 1 msirictcom

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AO 91 (Rev. ll/ll) Criminal Complaint uSouthel'n DSS

UNITED STATES DISTRICT COURT

 

for the 3 2019
Southem District of Texas APR
United States of America ) Dav'\d J. Bradley» C\erk °f court
V. ) Case No.
Laura Samantha RODRIGUEZ-Mar uez ) {b f } q » VY?J: ¢`{ 2 g
v Roberto ROCHA-Munoz )
4 6 Defendant(s) )
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 04/01/2019 in the county of Cameron in the Southem District of Texas, the defendant(s) violated:

Code Section Ojj‘”ense Descriptz`on
Title 8, United States Code, Section 1324(a)(1)(a)(lll) Knowing or in reckless disregard of the fact that an alien has come
to, entered, or remains in the United States in violation of law,
conceals, harbors, or shields from detection, or attempts to conceal,
harbor, or shield from detection, such alien in any place, including
any building or any means of transportation

This criminal complaint is based on these facts:

On April l, 2019, at approximately 4: 00 p. m., Homeland Security Investigations Special Agents and Border Patrol Agents
conducted a consensual search of a residence located at Brownsville, Texas Agents discovered 16
undocumented aliens (UDAS) harbored at the residence A short time later, Border Patrol Agents conducted a vehicle stop near
the residence, which led to the arrests of Roberto ROCHA-Munoz and Laura Samantha RODRIGUEZ-Marquez, both Mexican
nationals illegally present in the U.S. Two (2) of the harbored UDAs stated ROCHA delivered food to the residence, and one (l)
of the UDAs stated both ROCHA and RODRIGUEZ delivered food to the residence on different occasions. RODRIGUEZ stated
she knew the residence was being used to harbor UDAs and had delivered food to the location. RODRIGUEZ also stated
ROCHA would transport UDAs and deliver food to the residence.

E| Continued on the attached sheet.

 

Complainant's Signature

JAVIER SANDOVAL Border Patrol Agent

Printed name and title

Swom to before me and signed in my presence.
April 3, 2019 M%WW

 

Date / Judge' s signature
Brownsville, Texas Ronald G. Morgan U.S. Magisn'ate Judge

 

Cz'ty and State , Printed name and title

